Case 2:23-bk-53043         Doc 146    Filed 01/04/24 Entered 01/04/24 16:15:09           Desc Main
                                     Document      Page 1 of 6




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

     In re:                                       )    Case No. 2:23-bk-53043
                                                  )
     WELCOME GROUP 2, LLC, et al.2                )    Judge Nina Nami Khorrami
                                                  )
         Debtors.                                 )    Chapter 11 (Jointly Administered)
                                                  )

                       RSS WFCM2019-C50 – OH WG2, LLC’S MOTION
                    TO PERMIT INSPECTION OF DEBTORS’ COLLATERAL

              Now comes secured creditor RSS WFCM2019-C50 – OH WG2, LLC, by and through its

 undersigned counsel and as a secured creditor and party in interest in this case, hereby files its

 Motion to Permit Inspection of Debtors’ Collateral (the “Motion”) respectfully seeking to inspect

 the real and personal property located at: (i) 2440 National Road, Zanesville, Ohio 43701 and

 commonly known as the Super 8 Zanesville; (ii) 1600 Hampton Court, Sidney, Ohio 45365 and

 commonly known as the Hampton Inn Sidney; and (iii) 8099 Old Yankee Street, Dayton, Ohio

 45458 and commonly known as The Dayton Hotel South.3 This Motion is supported by the

 attached Memorandum in Support. A proposed order is attached hereto as Exhibit 1, and is

 incorporated herein by this reference.




 2
  This case is jointly administered with In re Dayton Hotels LLC, Case Number 2:23-bk-53044
 and In re Hilliard Hotels, LLC, Case Number 2:23-bk-53045.
 3
  Unless otherwise indicated, all chapter and section references in this Motion are in reference to
 11 U.S.C. 101 et seq. (the “Bankruptcy Code”). All “Rule” references are to the Federal Rules
 of Bankruptcy Procedure unless indicated otherwise.
Case 2:23-bk-53043   Doc 146    Filed 01/04/24 Entered 01/04/24 16:15:09    Desc Main
                               Document      Page 2 of 6



                                       Respectfully submitted,

                                       /s/ Tami Hart Kirby
                                       Tami Hart Kirby, Esq. (#0078473)
                                       Walter Reynolds, Esq. (#0022991)
                                        Porter Wright Morris & Arthur LLP
                                       One South Main Street, Suite 1600
                                       Dayton, OH 45402-2028
                                       Telephone: (937) 449-6721
                                       Facsimile: (937) 449-6820
                                       E-mail: tkirby@porterwright.com
                                               wreynolds@porterwright.com

                                     Attorneys for Creditor RSS WFCM2019-C50 – OH
                                     WG2, LLC




                                          2
Case 2:23-bk-53043        Doc 146     Filed 01/04/24 Entered 01/04/24 16:15:09              Desc Main
                                     Document      Page 3 of 6



                                 MEMORANDUM IN SUPPORT

 I.     BACKGROUND AND ARGUMENT.

        1.       Secured Creditor RSS WFCM2019-C50 – OH WG2, LLC (“Lender”) moves this

 Court to permit it to inspect the real and personal property that serves as collateral for its

 indebtedness.

        2.       Debtors Welcome Group 2, LLC, Hilliard Hotels, LLC, and Dayton Hotels, LLC

 (collectively, “Debtors”) commenced this case by the filing a voluntary petition for relief under

 Chapter 11 of Title 11 of the Bankruptcy Code at the close of business on Friday, September 1,

 2023 (the “Petition”).

        3.       This Court has jurisdiction over the Motion pursuant to Sections 105(a) and 362 of

 Title 11 of the Bankruptcy Code. The Motion gives rise to a core proceeding under 28 U.S.C.

 157(b)(2), as to which the Court has the statutory and constitutional authority to enter a final order

 or judgment.

        4.       Lender is the owner and holder of the promissory note in the principal amount of

 $21,300,000.00 (the “Loan”), a certain loan agreement (“Loan Agreement”), mortgages

 (collectively, “Mortgages”), assignments of rents, and other corresponding loan documents

 concerning the Loan (collectively, the “Loan Documents”). As set forth in the Mortgages, Lender

 has a good and valid first mortgage lien on the real and personal property located at: (i) 2440

 National Road, Zanesville, Ohio 43701 and commonly known as the Super 8 Zanesville; (ii) 1600

 Hampton Court, Sidney, Ohio 45365 and commonly known as the Hampton Inn Sidney; and (iii)

 8099 Old Yankee Street, Dayton, Ohio 45458 and commonly known as The Dayton Hotel

 South(collectively, the “Hotels”) to secure the indebtedness evidenced by the Loan.
Case 2:23-bk-53043        Doc 146     Filed 01/04/24 Entered 01/04/24 16:15:09             Desc Main
                                     Document      Page 4 of 6



        5.      Debtors are and jointly and severally liable for the indebtedness evidenced by the

 Loan, along with non-debtors Dayton Hotels 2, LLC and Elite Hospitality, LLC.

        6.      As of Petition Date, the amount owed on the Loan to Lender was the sum of

 $31,960,016.83, which such amounts continue to accrue. 4

        7.      Pursuant to Section 4.1.4 of the Loan Agreement, Lender, and its agents,

 representatives, and employees have the right to inspect the Hotels or any part thereof at reasonable

 hours upon reasonable advance notice, subject to the rights of any tenants under their leases. A

 copy of the Loan Agreement is attached hereto as Exhibit 2, and is incorporated herein by this

 reference.

        8.      Under Section 7.11 of each of the Mortgages, upon reasonable notice to Debtors,

 Lender and its agents shall have the right to enter an inspect the Hotels at all reasonable times.

 True and accurate copies of the Mortgages are attached hereto collectively as Exhibit 3, and are

 incorporated herein by this reference.

        9.      Undersigned counsel has contacted Debtors’ counsel several times to secure

 Debtors’ consent to the inspection without the necessity of filing this Motion. However, as of the

 filing of this Motion, Debtors’ counsel has not responded or provided such consent.

        10.     Debtors continue to utilize Lender’s cash collateral in the operation of their Hotels.

 Despite the contractual relationship of the parties, Debtors have continually refused to permit

 Lender to inspect the condition of its collateral that secures the Loan.




 4
  Lender has filed the following proofs of claims: (i) i Welcome Group 2, LLC as Claim 13; (ii)
 Hilliard Hotels, LLC as Claim 14; and (iii) Dayton Hotels LLC as Claim 11.


                                                   2
Case 2:23-bk-53043        Doc 146     Filed 01/04/24 Entered 01/04/24 16:15:09             Desc Main
                                     Document      Page 5 of 6



        11.     Therefore, Lender moves the Court to order Debtors to allow Lender to inspect the

 Hotels as soon as can be reasonably scheduled from the date of the Order entered by the Court,

 and that Lender be entitled to its costs incurred herein.

 II.    CONCLUSION.

        Based upon the foregoing, Lender respectfully requests that this Court enter an order: (a)

 granting this Motion in its entirety; (b) ordering that Debtors be required to permit Lender’s agents

 to inspect the Hotels as soon as reasonably practicable from the date of the Order being entered by

 the Court, but in no event, within ten (10) business days of the date of the Order being entered by

 the Court; and (c) granting such other and further relief as the Court deems appropriate.

                                               Respectfully submitted,


                                               /s/ Tami Hart Kirby
                                               Tami Hart Kirby, Esq. (#0078473)
                                               Walter Reynolds, Esq. (#0022991)
                                                Porter Wright Morris & Arthur LLP
                                               One South Main Street, Suite 1600
                                               Dayton, OH 45402-2028
                                               Telephone: (937) 449-6721
                                               Facsimile: (937) 449-6820
                                               E-mail: tkirby@porterwright.com
                                                       wreynolds@porterwright.com


                                             Attorneys for Creditor RSS WFCM2019-C50 – OH
                                             WG2, LLC




                                                   3
Case 2:23-bk-53043       Doc 146      Filed 01/04/24 Entered 01/04/24 16:15:09             Desc Main
                                     Document      Page 6 of 6



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed electronically on this 4th day
 of January, 2024, which will be served on the following ECF participants, electronically through
 the Court’s ECF system at the email address registered with the Court:

  Ira H. Thomsen, Esq.                               Pamela Arndt
  Denis E. Blasius, Esq.                             U.S. Department of Justice, U.S. Trustee
  Darlene E. Fierle, Esq.                            Program
  140 N. Main Street, Suite A                        170 North High Street, Suite 200
  Springboro, Ohio 45066                             Columbus, Ohio 43215
  Attorney for Debtor-in-Possession                  Attorney for the U.S. Trustee

  Assistant United States Trustee                    Noah Schottenstein, Esq.
  Office of the US Trustee                           DLA Piper LLP (US)
  170 North High Street, Suite 200                   1900 North Pearl Street, Suite 2200
  Columbus, Ohio 43215                               Dallas, Texas 75201
                                                     Attorney for Itria Ventures LLC

  Daniel M. Eliades, Esq.                            David Alan Beck
  Caitlin C. Conklin, Esq.                           Carpenter Lipps LLP
  K&L Gates LLP                                      280 North High Street, Suite 1300
  One Newark Center, Tenth Floor                     Columbus, Ohio 43215
  1085 Raymond Boulevard
  Newark, NJ 07102
  Attorney for Super 8 Worldwide, Inc. and
  Hilton Franchise Holding LLC

  C. Kevin Kobbe, Esq.
  DLA Piper LLP (US)
  650 South Exeter Street, Suite 1100
  Baltimore, Maryland 21202
  Attorney for Itria Ventures LLC

 and on the following by ordinary U.S. Mail addressed to:

        Welcome Group 2, LLC
        Dayton Hotels, LLC
        Hilliard Hotels, LLC
        5955 E. Dublin Granville Road
        New Albany, Ohio 43054
        Debtor

                                              /s/ Tami Hart Kirby
                                              One of the Attorneys for Creditor RSS WFCM2019-
                                              C50 – OH WG2, LLC



                                                 4
